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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

TABITHA WHITE

      VS                                                CASE NO. 4:17-cv-59-MW-CAS

UNITED STATES OF AMERICA and
JIMMY HIGHSMITH

                                      JUDGMENT

      The parties are ordered to comply with their settlement agreement. The court

reserves jurisdiction to enforce the order to comply with the settlement agreement. All

claims in this case are voluntarily dismissed with prejudice under Federal Rule of Civil

Procedure 41.

                                         JESSICA J. LYUBLANOVITS
                                         CLERK OF COURT


February 22, 2018                        S/ Chip Epperson
DATE                                     Deputy Clerk: Chip Epperson
